                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                    GALVESTON DIVISION

IN THE MATTER OF THE COMPLAINT                            §
OF ODFJELL CHEMICAL TANKERS AS,                           §
GOLDEX FORTUNE LTD.,                                      §      C.A. NO. 3:20-CV-00012
ODJFELL MANAGEMENT AS AND                                 §
ODFJELL TANKERS AS, AS OWNERS AND                         §
OPERATORS OF THE M/T BOW FORTUNE                          §      (ADMIRALTY)

                        VERIFIED COMPLAINT FOR EXONERATION FROM
                                OR LIMITATION OF LIABILITY

TO THE HONORABLE JUDGE OF THIS COURT:

        COME NOW Odfjell Chemical Tankers AS, Goldex Fortune Ltd., Odjfell Management

AS and Odfjell Tankers AS, as owners and operators of the M/T Bow Fortune (collectively

referred to herein as “Petitioners”), to file this, their Verified Complaint for Exoneration From or

Limitation of Liability, and respectfully show the following:

                                                     I.

        1.         This case is within the admiralty and maritime jurisdiction of this Court pursuant

to Rule 9(h) of the Federal Rules of Civil Procedure and Rule F of the Supplemental Rules for

Certain Admiralty and Maritime Claims.

                                                    II.

        2.         At the time of the incident which forms the basis of this suit:

                   a.      Odfjell Chemical Tankers AS was a business entity organized and existing

                           under the laws of Norway with its registered office located in Bergen,

                           Norway.

                   b.      Goldex Fortune Ltd. was a business entity organized and existing under

                           the laws of Liberia with its registered office in Monrovia, Liberia.




23,572♦0PMLF1129
                   c.    Odjfell Management AS was a business entity organized and existing

                         under the laws of Norway with its registered office located in Bergen,

                         Norway.

                   d.    Odfjell Tankers AS was a business entity organized and existing under the

                         laws of Norway with its registered office located in Bergen, Norway.

Petitioners were the owner and operators of the M/T Bow Fortune at the time of the incident

which forms the basis of this suit.

                                                 III.

        3.         The M/T Bow Fortune is a chemical and oil products tanker built in 1999. The

M/T Bow Fortune is 183.10 meters in length, with a beam of 32.2 meters and bears IMO Number

9168635.

        4.         As shown in the Declaration of Value and Pending Freight, attached hereto as

Exhibit A and incorporated herein by reference for all purposes, at the time the F/V Pappy’s

Pride collided with the M/T Bow Fortune on January 14, 2020:

                   a.     the M/T Bow Fortune and all its appurtenances, excluding pending

                         freight, was valued at approximately USD 28,000,000.00 (TWENTY

                         EIGHT MILLION AND 00/100 U.S. DOLLARS); and,

                   b.    the value of the pending freight for the M/T Bow Fortune was

                         approximately USD 1,118,136.40 (ONE MILLION ONE HUNDRED

                         EIGHTEEN THOUSAND ONE HUNDRED THIRTY-SIX AND 40/100

                         U.S. DOLLARS).

                                                 IV.

        5.         On January 14, 2020, the M/T Bow Fortune was inbound in the Galveston Ship




23,572♦0PMLF1129                                  2
Channel when a fishing vessel, the F/V Pappy’s Pride, collided with it at or near buoy 7 within

the Galveston Ship Channel. The F/V Pappy’s Pride capsized. One of its crewmembers died,

one was injured and two remain missing.

        6.         Petitioners now seek exoneration from or, alternatively, limitation of their liablity

as provided by the Shipowner’s Limitation of Liability Act, for any and all claims arising out of

the F/V Pappy's Pride colliding with the M/T Bow Fortune on January 14, 2020, and any other

claims arising out of the M/T Bow Fortune voyage beginning on or about January 10, 2020.

                                                    V.

        7.         This action is timely filed pursuant to Rule F(1) of the Supplemental Rules for

Admiralty and Maritime Claims.

        8.         The incident occurred at or near buoy 7 within the Galveston Ship Channel. As

Galveston County is within the Southern District of Texas, venue is proper in the Galveston

Division of the Southern District of Texas pursuant to Rule F(9) of the Supplemental Rules for

Admiralty and Maritime Claims of the Federal Rules of Civil Procedure.

                                                    VI.

        9.         The incident described above and any damages claimed as a result thereof were in

no way caused or contributed to by any fault, neglect or want of due care on the part of

Petitioners.

        10.        At the time of the incident which forms the basis of this suit, Petitioners used due

diligence to make and maintain the M/T Bow Fortune in all respects seaworthy, and the M/T Bow

Fortune was, in fact, at all times material hereto, tight, staunch, strong, and fully and properly

equipped and supplied, and in all other respects seaworthy and fit for the service in which it was

engaged.




23,572♦0PMLF1129                                     3
          11.      The incident described above and any damages claimed as a result thereof occurred

without the fault, privity or knowledge of Petitioners.

          12.      To the best of Petitioners’ knowledge, information and belief, no warrant of arrest

or any other process of any court has been issued for the M/T Bow Fortune and the vessel has not

been and is not presently under seizure as a result of any claims or demands. However, counsel

for the owner of the F/V Pappy’s Pride has requested security.

          13.      Petitioners desire to contest their liability and the liability of the M/T Bow Fortune

for any claims made and/or that may be made against them as they have valid defenses in fact

and in law thereto. Petitioners further claim the benefits of the Limitation of Liability Act, 46

U.S.C. §§ 30501, et seq. and Rule F of the Supplemental Rules for Admiralty and Maritime

Claims of the Federal Rules of Civil Procedure, any and all Acts of the Congress of the United

States amendatory thereof or supplementary thereto, and the rules of practice of this Court and

the Supreme Court of the United States.

                                                   VII.

          14.      Contemporaneous with this filing, Petitioners file their Ad Interim Stipulation for

an amount equal to the value of Petitioners’ interest in the M/T Bow Fortune and its pending

freight plus interest thereon at the rate set forth in Rule F. The Ad Interim Stipulation is to stand

in the place of a stipulation for value if the amount thereof is not contested by any claimant

herein.

                                                   VIII.

          15.      All and singular, the above premises of this Complaint are true and correct and

within the jurisdiction of the United States and of this Honorable Court as an admiralty and

maritime claim within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure.




23,572♦0PMLF1129                                     4
        WHEREFORE, PREMISES CONSIDERED, Odfjell Chemical Tankers AS, Goldex

Fortune Ltd., Odjfell Management AS and Odfjell Tankers AS, as owners and operators of the

M/T Bow Fortune, pray that:

        1.         upon the filing of the Ad Interim Stipulation in the amount of US $29,118,136.40
                   (TWENTY NINE MILLION ONE HUNDRED EIGHTEEN THOUSAND ONE
                   HUNDRED THIRTY SIX AND 40/100 US DOLLARS), the Court, in
                   accordance with the Federal Rules, shall cause a Monition to be issued to all
                   persons asserting claims in the respect to which Odfjell Chemical Tankers AS,
                   Goldex Fortune Ltd., Odjfell Management AS and Odfjell Tankers AS, as owners
                   and operators of the M/T Bow Fortune, as owner of the M/T Bow Fortune,
                   (“Petitioners”) seek limitation, citing them to file their respective claims with the
                   Clerk of this Court and serve them on or before the date to be named in said
                   Monition or be forever barred and permanently enjoined from making and filing
                   any such claims;

        2.         the Court, upon filing of the Ad Interim Stipulation, issue an injunction restraining
                   the filing, commencement, and further prosecution in any Court whatsoever and
                   all suits, actions, and legal proceedings of any nature or kind whatsoever against
                   Petitioners and/or the M/T Bow Fortune and/or their underwriters, and/or their
                   insurers, whether in personam, or in rem;

        3.         if any claimant, who shall file its claim under oath, files an exception
                   controverting the value of the M/T Bow Fortune in its condition as alleged herein,
                   or to the amount of the Ad Interim Stipulation, the Court shall cause due appraisal
                   to be made of the value of the M/T Bow Fortune and its freight earned, if any,
                   during the time referred to in the Complaint, and the value of Petitioners’ interest
                   therein; and, in the event said appraised value exceeds the limitation fund or
                   security filed with the Court, that this Honorable Court enter an Order for the
                   payment into the Court of the higher value of Petitioners’ interests therein, or for
                   the giving of security in the same amount pursuant to the Supplemental Rules of
                   the Federal Rules of Civil Procedure;

        4.         the Court adjudge that Petitioners are not liable to any extent whatsoever for any
                   losses, damages, or injuries, and for any claims arising in consequence of the
                   matters, happenings and events stated in this Complaint, and exonerate Petitioners
                   from liability therefor;

        5.         in the alternative, if this Court should adjudge that Petitioners are liable in any
                   amount whatsoever, the Court adjudge said liability as limited to the value or
                   amounts of interests of Petitioners in the M/T Bow Fortune and its pending
                   freight, if any; that the monies paid or ordered to be paid may be divided pro rata
                   among such claimants as may prove their claims, saving to all parties the priority




23,572♦0PMLF1129                                     5
                   to which they may be entitled; and, that a decree be entered discharging
                   Petitioners from all other liabilities; and,

        6.         that Petitioners have such other and further relief as they may be entitled at law, in
                   equity or in admiralty, including the right to supplement and amend these
                   pleadings in order to achieve justice.


                                                  Respectfully submitted,

                                                  EASTHAM, WATSON, DALE & FORNEY, L.L.P.


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23,572♦0PMLF1129                                     6
